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                 EXHIBIT B-097
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                 IN THE SUPERIORCOURT OF FULTONCOUNTV'-;....L_-.....::_:_.:..;;:___J
                            STATEOF GEORGIA



IN RE:                                                            CASENO.
SPECIALPURPOSEGRAND JURY                                          2022-EX-000024



           VERIFIEDAPPLICATIONFOR PRO HAC VICEADMISSION

        Pursuant to Georgia Uniform Superior Court Rule 4.4, I, Miles M. Hart (Applicant),
hereby applies to this Honorable Court for admission to practice in the above-styled matter pro
hac vice. In support of this application, Applicant states as follows:



   1.




   2. My business address is:

        Spotswood Sansom & Sansbury LLC
        505 20th Street North, Suite 700
        Birmingham, AL 35203
        United States
        Phone: 205-986-3650
        Fax: 205-986-3639
        mhart@spotswood.com



   3. I have been retained to represent the following client:

        Bobby Lee Christine



        No additional Clients
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4.    I am a member in good standing of the following jurisdictions:

     Jurisdiction: Supreme Court of Alabama/all state courts
     Date admitted: 9/27/1996
     Current Status: Active
     Bar/Registration No.: ASB 1035-T66M

     Jurisdiction: US District Court/NDAL
     Date admitted: 7/21/22
     Current Status: Active
     Bar/Registration No.: ASB 1035-T66M



5. I have never been a member of the State Bar of Georgia.



6. I have never been denied pro hac vice admission in Georgia.



7. I have never had pro hac vice admission revoked in Georgia.



8. I have never been sanctioned or formally disciplined by a court in Georgia.



9. I have never been the subject of any formal disciplinary proceedings.



10. I have never been formally held in contempt, or otherwise sanctioned by a court in a
    written order, for disobedience to its rules or orders.



11. In the past two years I have not filed for pro hac vice admission in Georgia.



12. I have reviewed and am familiar with the Georgia Rules of Professional Conduct and all
    court rules relevant to practice before the court in which I am seeking admission.



13. My local sponsor is:

     Jess Randall Nix
     Bar Number: 023008
     Spotswood Sansom & Sansbury LLC
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       505 20th Street North, Suite 700
       Birmingham, AL 35203
       205-986-3620
       jnix@spotswood.com



   14. I am currently representing the client listed above in matters related to this proceeding:

       The client is a former U.S. Attorney who has been subpoenaed to testify before the
       Fulton County Special Purpose Grand Jury. I represent the client on related matters
       before the U.S. DOJ OIG, the House Select Committee on the Events of January 6, and in
       a federal grand jury proceeding in the District of Columbia that is being conducted by
       the Criminal Division of the U.S. DOJ.



   15. Is there any additional information that you would like to provide to the Court?:

       I have over twenty five years of legal experience as a state prosecutor, as a federal
       prosecutor, and as a criminal defense attorney. I've conducted grand juries and special
       grand juries in both the state and federal systems as a prosecutor, and I've advised
       many clients on the same as a defense attorney.



   16. When I file my application I will forward a copy to the State Bar of Georgia along with a
       check made payable to the State Bar of Georgia in the amount of $275, as I have not
       submitted the annual fee for this calendar year.



I, Miles M. Hart, applicant in the foregoing Verified Application for Pro Hae Vice Admission,
hereby verify the facts contained therein are true and accurate to the best of my knowledge.




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                                                                                       Applicant
      Case 1:23-cv-03721-SCJ Document 1-108 Filed 08/21/23 Page 5 of 5




                 IN THE SUPERIORCOURTOF FULTONCOUNTY
                            STATEOF GEORGIA


IN RE:                                                             CASENO.
SPECIALPURPOSEGRANDJURY                                            2022-EX-000024



                               CERTIFICATE
                                         OF SERVICE

I hereby certify that on this 15th day of September, 2022, a true copy of this Application was
delivered to the following persons by hand delivery: Chief Senior Assistant District Attorney
Donald Wakeford of the Fulton County District Attorney's Office.




                              Filedon this


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                                                                                 JessRandallNix
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